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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      CASE NO. 5:17-mj-00020-JLT
12                              Plaintiff,          ORDER TO UNSEAL COMPLAINT, ARREST
                                                    WARRANTS, AND AFFIDAVIT
13                        v.
14   GREVIN MARIO MORALES, SR. and
     JOSHUA DOUGLAS WHITEHEAD,
15
                               Defendant.
16

17

18         Upon application of the United States of America and good cause having been shown,

19         IT IS HEREBY ORDERED that the files in the above-captioned matters be, and are, hereby

20 ordered unsealed.

21
     IT IS SO ORDERED.
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23     Dated:    May 19, 2017                             /s/ Jennifer L. Thurston
                                                   UNITED STATES MAGISTRATE JUDGE
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      REQUEST TO UNSEAL COMPLAINT
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